         Case 2:18-cv-00513-RSL Document 157 Filed 01/12/21 Page 1 of 1



 1

 2

 3

 4

 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
      SHARON ELAINE BURLESON,
                                                        CASE NO. C18-0513RSL
 8
                            Plaintiff,
 9
                     v.                                 ORDER REGARDING
                                                        SETTLEMENT CONFERENCE
10
      SECURITY PROPERTIES
11
      RESIDENTIAL, LLC, et al.,
12
                            Defendants.
13

14
            This matter comes before the Court on “Defendants’ Joint Motion for
15
     Clarification.” Dkt. # 156. As specified in the second amended case management order:
16
            The settlement conference conducted between the close of discovery and
17          the filing of dispositive motions requires a face-to-face meeting or a
            telephone conference between persons with authority to settle the case.
18
            The settlement conference does not have to involve a third-party neutral.
19
     The Court declines to appoint a judicial officer as a neutral at this point in the
20
     proceedings.
21

22          Dated this 12th day of January, 2021.

23
                                                 Robert S. Lasnik
24                                               United States District Judge

25

26   ORDER REGARDING SETTLEMENT CONFERENCE
